     Case 1:17-cr-00101-LEK Document 202 Filed 04/12/18 Page 1 of 2                                PageID #: 1701
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AO 83 (Rev.06/09) Summons in a Criminal Case (Page 2)
Case No.         CR 17-00101 LEK USA V ANTHONY T. WILLIAMS 01                                  DISTRICT OF HAWAII
                                                                                                 App'VHr
                                                        PROOF OF SERVICE                              ^'
                                                                '7 ^
                                                          ^/rr- ^  T/                    .           and CLERK
                                                                                                SUE BEITIA,
This summons was received to me on (date)


         0^personally served the summons on this defendant                                                             at

                   9ot»                                                              /
         (place)                           ^                             On (date)                ^                    ;
or




          □ On (date)                                      I left the summons at the individuals residence or usual place
          of abode with (name)                                              , a person of suitable age and discretion who
          resides there, and I mailed a copy to the individual's last known address; or


          □ I delivered a copy of the summons to (name of individual)                                             , who is
          authorized to receive service of process on behalf of (name of organization)
                                                                on (date)                                and 1 mailed a
          copy to the organization's last known address within the district or to its principal place of business
          elsewhere in the United States; or



          □ The summons was returned unexecuted because:




I declare that under penalty of perjury that this information is; true.
                                                                  true.


Date returned:
                                                                                     Server's Sigmture


                                                                                     Printed name and title


Remarks:
     Case 1:17-cr-00101-LEK Document 202 Filed 04/12/18 Page 2 of 2                                PageID #: 1702

AO 83(Rev. 12/85) Summons in a Criminal Case                                     r:    cn
                                                                                             ORIGINAL
                                   UNITED STATES DISTRIQi                                     l|:29
                                                       District of Hawaii
                                                                            Q.S,. MARSHALS SERVICE:
                                                                                HONOLULU. HI.         ^
UNITED STATES OF AMERICA                                            SUMMONS IN A CRIMINAL'ikSE

                             V.                                     Case Number: CR 17-00101 LEK


ANTHONY T. WILLIAMS(01)
  (Name and Address ofDefendant)


         YOU ARE HEREBY SUMMONED to appear before the United States District Court at the place, date and time
set forth below.


 Place                                                                             Room
   United States District Court
   300 Ala Moana Blvd                                                              COURTROOM 5
   Honolulu. HI 96850
   Ph.(808)541-1300(Honolulu Number)
                                                                                   Date and Time



 Before: Richai'd L. Piiglisi, United States Magistr ate Judge                     APRIL 4, 2018 @ 2:00 PM


To Answer a(n) Superceding hidictment

Charging you with a violation of Title 18 United States Code,Section(s) 1343 AND 1341.

Brief description ofoffense:

CTl-15              Wire Fraud
CT 16-32            Mail Fraud




                  Sue Beitia. Clerk of Court
                 Name and Title ofIssuing Officer



                     /s/ Sue Beitia by EPS                                            MARCH 28,2018
             Signature ofIssuing OfElcer/Deputy Cler                                       Date
